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11                   IN THE UNITED STATES DISTRICT COURT
12                FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                              WESTERN DIVISION
14
15   NOMADIX, INC.,                            Case No.
                                               CV16-08033 AB (FFMx)
16              Plaintiff,
17                                             ORDER ON NOMADIX’S
          v.                                   MOTION FOR PROTECTIVE
18                                             ORDER PREVENTING EX
     GUEST-TEK INTERACTIVE
19                                             PARTE COMMUNICATIONS
     ENTERTAINMENT LTD.,
                                               WITH CHARLES REED
20
                Defendant.
21                                             Honorable Frederick F. Mumm
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 1         Having considered Plaintiff Nomadix’s Motion for Protective Order
 2   Preventing Ex Parte Communications with Charles Reed and finding good cause
 3   therefor based on the danger that Mr. Reed will disclose (whether inadvertently or
 4   not) attorney client information if questioned about Nomadix by Guest-Tek, its
 5   counsel, or anyone working in connection with either, the Court hereby GRANTS
 6   Plaintiff’s motion.
 7         Guest-Tek’s attorneys, employees, or representatives shall not communicate
 8   with, or otherwise have contact with, Mr. Reed on any topic relating to Nomadix
 9   unless Nomadix’s attorneys are present.
10         If Guest-Tek, including its counsel, discovers any failure to comply with this
11   order or any contact with Mr. Reed at odds with this order, Guest-Tek shall
12   promptly notify Nomadix and the Court of the nature and circumstances of the
13   contact, including the method of contact, the information communicated, the date
14   of contact, and the individuals involved in the contact.
15
16   IT IS SO ORDERED.
17
18   Dated: February 1, 2018                       /S/ Frederick F. Mumm
                                              Honorable Frederick F. Mumm
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                                              United States Magistrate Judge
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